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ATTORNEY FOR DEFENDANT Piotr Babichenko




                  IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,            )         CASE NO. CR-18-0258-BLW
                                       )
               Plaintiff,              )
                                       )
  vs.                                  )
                                       )
  PIOTR BABICHENKO,                    )
                                       )         MOTION FOR
              Defendant.               )         AUTHORIZATION TO TRAVEL
                                       )         OUTSIDE DISTRICT
  ____________________________________ )

      Defendant PIOTR BABICHENKO, through his attorney of record, Paul E.

Riggins of Riggins Law, P.A., hereby moves this Court to allow him to travel outside

the District of Idaho, and outside the travel terms contained in his detention order,

as set forth below:

      1.     Piotr Babichenko’s current detention release order only allows him to

travel within Ada, Canyon and Valley counties.

      2.     Mr. Babichenko and his wife, Zoya have a child with “Noonan’s

Syndrome”, a rare but serious condition that causes severe breathing and airway
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issues.

       3.     Mr. and Mrs. Babichenko have sought medical care throughout their

child’s life due to this condition.

       4.     Because of the rarity and severity of the condition, they have been

referred to national medical providers with more specific expertise treating this rare

condition.

       5.     Recently, they were referred to and consulted with the Cleveland

Clinic in Cleveland, Ohio.

       6.     The Cleveland Clinic will be working with the Babichenkos. They have

a team approach, whereby several different medical departments examine and

evaluate the child, and provide recommendations and advice, as well as specific

treatment.

       7.     The Cleveland Clinic has scheduled these various evaluations,

examinations (and a potential minor procedure) over the course of two days, March

3rd and 4th, 2021. Documentation from the Cleveland Clinic and a schedule of

appointments are attached as Exhibit A hereto.

       8.     Mr. Babichenko is requesting permission to travel to Cleveland for

these purposes. It is anticipated that they would fly out on March 2nd and return on

March 5th.

       9.     Mr. Babichenko is intimately involved with all aspects of their

daughter’s treatment and care. It is crucial that he be present for these various

examinations and evaluations so that he can continue to be involved with her care

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and be informed as to her needs.

      10.    Counsel has contacted Assistant United States Attorney Christian

Nafzger regarding this request. The U.S. Attorney’s Office has no objection to the

request.

      11.    Counsel has contacted Joel Osborne with the U.S. Probation Office,

who is the assigned Pre-Trial Services officer, regarding this request. Mr. Osborne

previously indicated that Mr. Babichenko has done well in following his location

monitoring schedule and has fully complied with his release conditions. Mr.

Osborne has no objection to this travel request.




      Based on the foregoing, Mr. Babichenko respectfully requests that the Court

grant his motion, and allow him to travel as set forth above.



             DATED this 24th day of February, 2021.



                                              /s/ Paul E. Riggins
                                              PAUL E. RIGGINS
                                              Attorney for Defendant




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                            CERTIFICATE OF SERVICE


       I hereby certify that on this 24th day of February, 2021, I electronically filed the
foregoing document with the Clerk of the Court using the CM/ECF system which sent a
notice of this filing to all parties on the electronic mail notice list.

       Katherine Horwitz
       Christian Nafzger
       United States Attorney’s Office
       1290 W. Myrtle Street, Ste. 500
       Boise ID 83702


I further certify that I sent a copy of this document, via email transmission, to the
following email addresses, on this same date:

                   joel_osborne@idp.uscourts.gov




                                                /s/ Paul E. Riggins
                                                Paul E. Riggins




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